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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PUBLIC INTEREST LEGAL FOUNDATION,                   :     1:20-cv-1905
         Plaintiff,                                 :
                                                    :
                         v.                         :     Hon. John E. Jones III
                                                    :
KATHY BOOCKVAR, Secretary of the                    :
Commonwealth of Pennsylvania, in her                :
official capacity                                   :
             Defendant.                             :

                                    ORDER
                                October 19, 2020

      In full consideration of the parties’ filings and arguments advanced at the

hearing conducted on this date, we now order the following:

      1. Plaintiff’s Motion for Preliminary Injunction, (Doc. 4), is DENIED. A

         memorandum opinion detailing our reasoning will follow.

      2. In consideration thereof, there is no need to hear testimony and we will

         ADJOURN today’s proceedings and CLOSE the record with respect to

         the said Motion.

      3. Defendant’s Motion to Strike Expert Report and Preclude Testimony of

         Kenneth J. Block, (Doc. 22), is DISMISSED AS MOOT.

                                                    s/ John E. Jones III
                                                    John E. Jones III
                                                    Chief Judge
                                                    United States District Court
                                                    Middle District of Pennsylvania
